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                    EXHIBIT ''C''
Case 4:18-cv-00247-ALM Document 60-3 Filed 07/19/18 Page 2 of 2 PageID #: 1217
 JASON VAN DYKE IS AN IMPOTENT RACIST - 1000/o VERIFIED!!

 Yet an oth er scary (not so scary} threat email from t he Law Offices of Jason L. Van
 Dyke1 Esq.



     (( F1vm: Jason T/ an Dj .ke
     Date: Ju~)· 18.. 2018 at .X:34:07 P.JI CDT
     To: JeffreJ Den-el/
     S uqect: Tev~vonio · Injunction


     Jeff-

     I just received this. I knou,. that._yourpo'"iftion iu~ that)'our client and Dean
     _A.ndet-son are two dijfere.ni people. ~Vfr.1.vosition is that he is bring about
      that and I su.:ipect thatJOU .knfiw him to be fying. I 11.-ill be calling the
      coutt tomorrow and in.Jit'.tting that»!)·' application for a fe,~oomt]'
     injunction be setfar a hearing at the eadiesl convenience 0.rthe. cottt1i or in
      the alternatiz:e} J1!ing a U.Jtitfen rr:que.rt lbit}; the coiut ifi hai't this set I
     ivi!f aho be .stJning 11!.JJirst J·ei of1.vritlen cli.sco1.:eo· tomonr;u:. and unless I
     am gii:en a set date ;i;,#h respect to JJ..i!Jen I can e:pect)'Ottr Rule 26
      discloJ~"t'e_, I 1;,,ifi be filing a motion to comp&l those disc!usuf'u.



     I a1n s:o1v:. butJOUr Cl'ient has been u..arned multiple time to Jiop
     intetfin'n..g JJ/ith 112)' life. I am si!npfyr not going to tokrate it t:m)' .more.




                                                                 - - - - - --- ----·- ----
 Van Dyke reminds me of a littl e bark in g dog , the kind you kick over a fence w hen it
  starts yapping.

 What an i mpot en t little pussy. Hey, may be he can get the super secret FBis / ATFs
  interested in his butt- hurt!

 Anyone car e t o bet on what the j udge will do when Van Dy ke ca lls and files his court
  papers tomorrmv?
